                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION
                                                                                  Motion GRANTED.
UNITED STATES OF AMERICA                     )
                                             )
                                             )
       v.                                    )       No. 3:07-00223
                                             )       Judge Trauger
                                             )
REGGIE K. JACKSON                            )

                 MOTION TO ALLOW RELEASE OF SEALED DOCUMENT

       Comes now the Defendant and hereby moves the Court to allow counsel for the defendant

to make a limited release of a sealed document. In support of this motion, Defendant would state

and show that on March 2, 2010, Mr. Jackson was committed to the custody of the Bureau of

Prisons pursuant to 18 U.S.C. § 4241(d) for the purpose of a competency evaluation. A

psychological report was filed on June 18, 2010. That report was filed under seal.

       The pending supervised release revocation petition is based on Mr. Jackson’s arrest on

state charges of making drug sales on behalf of his brother. Mr. Jackson is represented by

appointed counsel in Wilson County. Counsel for Mr. Jackson has spoken with counsel who was

unaware of Mr. Jackson’s prior evaluations. Because the BOP report has been filed under seal,

counsel for Mr. Jackson moves the Court to allow the limited release of a copy of the evaluation

to Mr. Jackson’s appointed counsel in his State case to assist him in representing Mr. Jackson.

                                           Respectfully submitted,

                                           s/ Sumter L. Camp
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